USCA Case #23-7073               Document #2023887             Filed: 10/26/2023   Page 1 of 2
                      United States Court of Appeals
                                 FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                          ____________
No. 23-7073                                                     September Term, 2023
                                                                            1:22-mc-00096-RC
                                                                            1:22-mc-00117-RC
                                                                            1:23-mc-00007-RC
                                                           Filed On: October 26, 2023
In re: Jeffrey B. Clark,

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Jeffrey B. Clark, A Member of the Bar of the
District of Columbia Court of Appeals (Bar
Registration No. 455315),

                 Appellant

        v.

D.C. Office of Disciplinary Counsel,

                 Appellee

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Consolidated with 23-7074, 23-7075


        BEFORE:           Henderson, Pillard, and Pan, Circuit Judges

                                             ORDER

       Upon consideration of the of the motion for stay filed July 14, 2023, the
opposition thereto, and the reply; the motion for stay filed August 31, 2023, and the
errata thereto; the motion for leave to file an out-of-time response to the motion for stay
filed August 31, 2023, the lodged opposition to the motion for stay filed August 31,
2023, and the opposition to the motion for leave; the motion for judicial notice; the
motion requesting a ruling on the stay motions, the opposition thereto, and the reply;
and the motion to exceed the word limits for principal briefs, it is

        ORDERED that the motion for judicial notice be granted only as to the existence
of the records at issue. See Crumpacker v. Ciraolo-Klepper, 715 F. App’x 18, 19 (D.C.
Cir. 2018). It is

      FURTHER ORDERED that the motion for leave to file an out-of-time response to
the motion for stay filed August 31, 2023, be denied. It is
USCA Case #23-7073        Document #2023887              Filed: 10/26/2023      Page 2 of 2
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No. 23-7073                                                 September Term, 2023

        FURTHER ORDERED that the motions for stay be denied. Appellant has not
satisfied the stringent requirements for a stay pending appeal. See Nken v. Holder, 556
U.S. 418, 434 (2009); D.C. Circuit Handbook of Practice and Internal Procedures 33
(2021). Nor has appellant shown that the district court’s June 8, 2023, remand order
has been automatically stayed pending appeal. It is

      FURTHER ORDERED that the motion requesting a ruling on the stay motions be
dismissed as moot. It is

      FURTHER ORDERED that the motion to exceed the word limits be denied.

      The Clerk is directed to enter a briefing schedule.

                                      Per Curiam


                                                        FOR THE COURT:
                                                        Mark J. Langer, Clerk

                                                BY:     /s/
                                                        Selena R. Gancasz
                                                        Deputy Clerk




                                         Page 2
